Act 629
(Senate Bill 358)

What you need to know!

Products that were produced by a synthetic
chemical process that converted hemp into
Delta-8, Delta-9, Delta-6a, 10a, Delta-
10 THC, or any other psychoactive
Substance derived therein have been
added_ to the Arkansas Controlled

Substances list including:

Delta-8 THCO (acetate ester) _
Delta-9 THCO (acetate ester) :
Delta-6a THCO (acetate ester)
Delta-10a THCO (acetate ester)

> As of 14 023, products containing

the above substances cannot be sold to or
possesed by anyone under twenty-one
(21) years of age.

> On August 1, 2023, products containing

the above substances cannot be sold to or
possessed by anyone regardless of age.

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Impact of Act 629. 3
on ATC Permit -  —
No Controlled Substances. |

Regardless of permit type or
product in stock, no permitted
establishment in Arkansas may
possess, sell, or otherwise have
any controlled substances.

ATC will not grant or renew a permit
to any Person in Arkansas to sellji

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